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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   LEROY JOSEPH SHELLEY,         ) NO. CV 19-7443-GW(E)
                                   )
12             Petitioner,         )
                                   )
13        v.                       )    ORDER ACCEPTING FINDINGS,
                                   )
14   CYNTHIA Y. TAMPKINS, Warden, )     CONCLUSIONS AND RECOMMENDATIONS
                                   )
15                                 )    OF UNITED STATES MAGISTRATE JUDGE
               Respondent.         )
16   ______________________________)
17

18         Pursuant to 28 U.S.C. section 636, the Court has reviewed the
19   Petition, all of the records herein and the attached Report and
20   Recommendation of United States Magistrate Judge.           Further, the Court
21   has engaged in a de novo review of those portions of the Report and
22   Recommendation to which any objections have been made.           The Court
23   accepts and adopts the Magistrate Judge’s Report and Recommendation.
24

25         IT IS ORDERED that Judgment be entered denying and dismissing the
26   Petition with prejudice.
27   ///
28   ///
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 1         IT IS FURTHER ORDERED that the Clerk serve copies of this Order,

 2   the Magistrate Judge's Report and Recommendation and the Judgment

 3   herein by United States mail on Petitioner and counsel for Respondent.

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 5         LET JUDGMENT BE ENTERED ACCORDINGLY.

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 7               DATED:   January 11, 2021.

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10                                    _________________________________
                                                 GEORGE H. WU
11                                       UNITED STATES DISTRICT JUDGE

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